                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                  |
SAFEHOUSE, a Pennsylvania nonprofit               |
corporation,                                      |
                 Counterclaim Plaintiff,          |
                                                  |
        v.                                        |
                                                  |
UNITED STATES OF AMERICA,                         |      Civil Action No.: 2:19-cv-00519
                         Counterclaim Defendant,  |
                                                  |
U.S. DEPARTMENT OF JUSTICE; MERRICK B. |
GARLAND, in his official capacity as Attorney     |
General of the United States; JACQUELINE C.       |
                                                  |
ROMERO, in her official capacity as U.S. Attorney
                                                  |
for the Eastern District of Pennsylvania,         |
             Third-Party Counterclaim Defendants. |
                                                  |

SAFEHOUSE’S SECOND AMENDED COUNTERCLAIMS FOR DECLARATORY AND
                       INJUNCTIVE RELIEF

       Pursuant to Federal Rule of Civil Procedure 13, Counterclaim Plaintiff Safehouse asserts

the following counterclaims against Counterclaim Defendant United States of America, and

Third-Party Counterclaim Defendants U.S. Department of Justice; Merrick B. Garland, in his

official capacity as Attorney General of the United States; and Jacqueline C. Romero, in her

official capacity as United States Attorney for the Eastern District of Pennsylvania (collectively,

“the DOJ”), and, by and through its counsel, alleges as follows:

                                       INTRODUCTION

       1.      In this action, Safehouse seeks to have this Court declare 21 U.S.C. § 856

inapplicable to the establishment and carrying out of its overdose prevention services model,

which includes medically supervised consumption and observation.

       2.      Safehouse further seeks a declaration by the Court that any prohibition on its

operation of a medically supervised consumption room as part of its overdose prevention


                                                1
services model would violate the Religious Freedom and Restoration Act, 42 U.S.C. § 2000bb et

seq., and the First Amendment to the U.S. Constitution by substantially burdening the exercise of

its religious beliefs that call its Board Members and Directors to provide lifesaving medical

treatment to a vulnerable population. The threatened enforcement of Section 856 to Safehouse,

notwithstanding the multitude of federal exemptions from the Controlled Substances Act for

similar, non-religiously motivated conduct, burdens Safehouse’s religious exercise in a manner

that is not generally applicable, thereby subjecting its position with respect to Safehouse to strict

scrutiny under the Free Exercise Clause of the First Amendment. The DOJ cannot meet that

rigorous standard here because it lacks any compelling interest in preventing Safehouse’s

proposed operation; nor would enforcement of Section 856 against Safehouse be the least

restrictive means of advancing any such interest.

                                 JURISDICTION AND VENUE

       3.      This action arises under 21 U.S.C. § 801 et seq. and 42 U.S.C. § 2000bb et seq.

This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1346. Safehouse

seeks remedies under 28 U.S.C. §§ 2201 and 2202.

       4.      Venue lies in the Eastern District of Pennsylvania pursuant to 28 U.S.C.

§ 1391(b), as the relevant events took place in this District.

                                 DECLARATORY JUDGMENT

       5.      There is an actual controversy of sufficient immediacy and concreteness relating

to the legal rights and duties of Safehouse to warrant relief under 28 U.S.C. § 2201.

       6.      The harm to Safehouse as a direct result of the actions and threatened actions of

the DOJ is sufficiently real and imminent to warrant the issuance of a conclusive declaratory

judgment.




                                                  2
       7.      The DOJ and its officials have asserted that Safehouse’s overdose prevention

services model, which includes medically supervised consumption and observation, would

violate federal criminal law.        The DOJ has threatened to commence criminal and civil

enforcement proceedings at any time to prevent Safehouse from opening and becoming

operational, and brought the instant declaratory action resulting in this counterclaim.

       8.      Safehouse, as well as its leaders and personnel, are threatened with federal civil

and criminal enforcement unless Safehouse refrains from engaging in entirely lawful conduct in

pursuit of its lifesaving mission.

       9.      Under these circumstances, judicial intervention is warranted to resolve a genuine

case or controversy within the meaning of Article III of the U.S. Constitution regarding the

proper interpretation and application of Section 856.

       10.     A declaration that Safehouse would not violate Section 856 once it becomes

operational would definitively resolve that controversy for the parties.

                                          THE PARTIES

       11.     Counterclaimant Safehouse is a nonprofit corporation operating under the laws of

the Commonwealth of Pennsylvania with a registered address at 1211 Chestnut Street, Suite 600,

Philadelphia, Pennsylvania 19107.

       12.     Counterclaim Defendant is the United States of America.

       13.     Third-Party Counterclaim Defendant is the U.S. Department of Justice.

       14.     Third-Party Counterclaim Defendant Merrick B. Garland is sued in his official

capacity as Attorney General of the United States.

       15.     Third-Party Counterclaim Defendant Jacqueline C. Romero is sued in her official

capacity as the U.S. Attorney for the Eastern District of Pennsylvania.




                                                 3
I.            FACTUAL ALLEGATIONS

              16.   Safehouse hereby incorporates and re-alleges the Preliminary Statement and each

of the factual allegations in its Answer to Plaintiff’s Complaint. It further avers as follows:

                            The Opioid Epidemic in the City of Philadelphia

              17.   The City of Philadelphia is in the midst of an unprecedented public health

emergency due to the opioid epidemic and the opioid overdose crisis.

              18.   In 2018-2019, more than 2,300 individuals died as a result of an opioid overdose

in Philadelphia.1       In 2020, fatal overdoses claimed the lives of 1,214 Philadelphians.                          On

average, Philadelphia is losing three of its citizens each day to opioid overdoses.

              19.   On October 3, 2018, the Mayor of Philadelphia issued an Opioid Emergency

Response Executive Order declaring that “Kensington and its surrounding neighborhoods are in

the midst of a disaster” due to the opioid crisis, and empowering city agencies and officials to

lead efforts to reduce opioid deaths and transmission of disease and to increase entry into drug

treatment.2

              20.   Since 2011, most opioid-related deaths in Philadelphia have been caused by

heroin. In the last several years, Philadelphia has experienced a dramatic increase in the number

of deaths related to fentanyl.3




1
   See City of Phila., Dep’t of Pub. Health, Opioid Misuse and Overdose Report (Nov. 29, 2018),
https://www.phila.gov/media/20181129123743/Substance-Abuse-Data-Report-11.29.18.pdf;                 City    of   Phila.,
Combating the Opioid Epidemic, https://www.phila.gov/programs/combating-the-opioid-epidemic/reports-and-
data/opioid-misuse-and-overdose-data/ (last visited Apr. 2, 2019); see also WHYY, Fatal opioid overdoses expected
to dip in Philly for first time in 5 years (Dec. 24, 2018), https://whyy.org/articles/fatal-opioid-overdoses-expected-to-
dip-in-philly-for-first-time-in-5-years/.
2
  City of Phila., Office of the Mayor, Executive Order No. 3-18 – Opioid Emergency Response Executive Order
(Oct. 3, 2018), https://www.phila.gov/ExecutiveOrders/Executive%20Orders/eo99318.pdf.
3
    See id.


                                                           4
        21.     Fentanyl is a synthetic opioid that is now found in many of the opioids sold on the

street in Philadelphia. Fentanyl is often sold to people who use drugs mistakenly believing that

they are purchasing less lethal drugs.

        22.     Fentanyl is 50-to-100 times more potent than heroin, and its effects are felt within

the human body much faster. In the event of an overdose, a person may stop breathing within 2-

to-3 minutes after the consumption of fentanyl. Absent intervention, serious injury or death can

occur as quickly as 3-to-5 minutes from the time of consumption.

        23.     Every second counts in reversing an opioid overdose.                 When immediately

available, the administration of Naloxone and similar opioid receptor antagonists provides

lifesaving treatment. These interventions will resuscitate and keep a person alive with medical

certainty.

        24.     The time-sensitive nature of overdose prevention services is complicated by the

fact that Philadelphia’s Emergency Medical Services (“EMS”) is inundated with calls to respond

to overdoses, response times are variable, and for 46 percent of calls in 2017, more than nine

minutes elapsed before EMS arrived at the scene.4

        25.     In 2017, Philadelphia’s EMS personnel administered Naloxone to more than

5,400 overdose victims.5 This number has continued to increase in 2018 and 2019. Over 60,000

doses of Naloxone have been distributed by the City of Philadelphia in 2019.

        26.     Frequently, neither emergency rooms nor emergency responders are equipped to

offer treatment or provide the wraparound services needed to overcome opioid addiction.6

4
   Adam Thiel, Fire Comm’r, Philadelphia Fire Department Fiscal Year 2018 Budget Testimony, at 6,
http://phlcouncil.com/wp-content/uploads/2017/04/FY18-Fire-Budget-Testimony-final-version-4.12.17.pdf (last
visited Sept. 17, 2021).
5
   See City of Phila., Dep’t of Pub. Health, Opioid Misuse and Overdose Report (Nov. 29, 2018),
https://www.phila.gov/media/20181129123743/Substance-Abuse-Data-Report-11.29.18.pdf; City   of    Phila.,
Combating the Opioid Epidemic, https://www.phila.gov/programs/combating-the-opioid-epidemic/reports-and-
data/opioid-misuse-and-overdose-data/ (last visited Sept. 17, 2021).


                                                    5
        27.      As part of this growing crisis, the Mayor of Philadelphia created the Task Force to

Combat the Opioid Epidemic in Philadelphia (the “Task Force”). The final report issued by the

Task Force recommended the implementation of overdose prevention services and expansion of

treatment access and capacity.7

        28.      Safehouse would fulfill Philadelphia’s dire need for overdose prevention services.

                                         Formation of Safehouse

        29.      Safehouse, a privately funded nonprofit corporation, was established in 2018 with

the mission to save lives by providing a range of overdose prevention services. Its proposed

model is part of a broader harm reduction strategy to mitigate the catastrophic losses resulting

from the opioid epidemic and overdose crisis in Philadelphia.

        30.      “Substance use disorder” or “Opioid use disorder” are defined by the CDC to be a

medical condition diagnosed “based on specific criteria such as unsuccessful efforts to cut down

or control use, or use resulting in social problems and a failure to fulfill obligations at work,

school, or home, among other criteria.”8 The Office of the U.S. Surgeon General has reported

that more than eleven million Americans use illicit drugs or misuse prescription drugs, but that

only one out of four of those people seek specialized treatment for opioid use disorder.9 In 2016,

the Mayor’s Task Force reported that more than 14,000 Medicaid recipients in Philadelphia




6
    Hoag Levins, Optimizing Heroin Users’ Treatable Moments in the ER (June                              2017),
https://ldi.upenn.edu/news/optimizing-heroin-users-treatable-moments-er (last visited Sept. 17, 2021).
7
 See City of Phila., The Mayor’s Task Force to Combat the Opioid Epidemic in Philadelphia: Final Report and
Recommendations (May 19, 2017), https://dbhids.org/wp-content/uploads/2017/04/OTF_Report.pdf (“Task Force
Report”).
8
  CDC, Commonly Used Terms: Opioid Overdose, https://www.cdc.gov/drugoverdose/opioids/terms.html (last
visited Sept. 17, 2021).
9
   HHS, Facing Addiction in America: The Surgeon General’s Spotlight on Opioids 6 (Sept. 19, 2018),
https://addiction.surgeongeneral.gov/sites/default/filesfiles/Spotlight-on-Opioids_09192018.pdf.


                                                      6
sought treatment for opioid use disorder—a small fraction of those actually suffering from that

condition—and estimated that more than 70,000 Philadelphians are active heroin users.10

           31.     “Harm reduction” is an umbrella term for interventions that aim to reduce

problematic or otherwise harmful effects of certain behaviors. In the context of substance and

opioid use disorders, such interventions are necessary to reduce harm for individuals “who, for

whatever reason, may not be ready, willing, or able to pursue full abstinence as a goal.” Harm

reduction strategies are an essential aspect of public health initiatives. Harm reduction can

include reducing the frequency of substance use, preventing diseases caused by substance use

(such as HIV and Hepatitis C), providing syringe exchange, and offering medication-assisted

treatments, overdose prevention, and wound care. Harm reduction strategies are necessary in

light of the psychology of addiction and substance use disorder, and seek to help individuals

engage in treatments to reduce, manage, and stop their substance use when appropriate.11

           32.     Safehouse will combat the opioid crisis through the use of a comprehensive harm

reduction strategy.

           33.     Safehouse’s overdose prevention services include the assessment of an

individual’s physical and behavioral health status, provision of sterile consumption equipment,

provision of drug testing (i.e., fentanyl test strips), medically supervised consumption and

observation, overdose reversal, wound care and other primary care services, on-site education

and counseling, on-site MAT and recovery counseling, distribution of Naloxone, and access to

wraparound services such as housing, public benefits, and legal services.




10
     Task Force Report 7-8.
11
  See Diane E. Logan & G. Alan Marlatt, Harm Reduction Therapy: A Practice-Friendly Review of Research, 66 J.
Clinical Psychol. 201 (2010).


                                                     7
        34.     Safehouse’s overdose prevention services model provides those at highest risk of

an opioid overdose with immediate access to medical care, including overdose reversal agents.

Under this model, Safehouse can offer assurance, to a medical certainty, that people within its

care will not die of a drug overdose.

        35.     Safehouse will not provide any illicit drugs for consumption, nor will it tolerate

any sale of illicit drugs or drug sharing at its facility.

        36.     Safehouse’s comprehensive services will encourage entry into drug treatment,

reduce the burden on emergency services and first responders, prevent the transmission of

infectious diseases, and create a safer community by reducing public consumption of illicit drugs

and discarded needles and other consumption equipment.

        37.     Safehouse will save lives by preventing and averting overdose deaths. It will also

save lives by preventing death and serious health complications caused by infections and disease

transmitted by intravenous drug use.

        38.     Studies estimate that an overdose prevention site like Safehouse could reduce

overdose deaths annually by 30% in the site’s immediate vicinity.12

                                        Threat of Prosecution

        39.     On November 9, 2018, the U.S. Attorney for the Eastern District of Pennsylvania,

William M. McSwain, sent a letter to Safehouse declaring the DOJ’s intent to pursue

“appropriate legal remedies” for a purported “violation of the CSA.” A true and correct copy of

the November 9, 2018 letter is attached as Exhibit B to the Complaint.




12
    Sharon Larson et al., Supervised Consumption Facilities – Review of the Evidence 20 (2017),
https://dbhids.org/wp-content/uploads/2018/01/OTF_LarsonS_PHLReportOnSCF_Dec2017.pdf (“Supervised
Consumption Facilities”).


                                                     8
       40.     Similarly, in a widely published op-ed, U.S. Deputy Attorney General Rod

Rosenstein argued that safe injection facilities violate federal law and could result in “up to 20

years in prison.”13

       41.     On February 5, 2019, the DOJ filed a complaint for a declaratory judgment under

21 U.S.C. § 856(e) that Safehouse’s medically supervised consumption room would violate 21

U.S.C. § 856(a)(2).

       42.     Violation of 21 U.S.C. § 856(a)(1) or (a)(2) carries with it severe criminal and

civil penalties, including fines of up to $2,000,000 and imprisonment for up to twenty years.

See, e.g., 21 U.S.C. § 856(b) and (d).

II.    SAFEHOUSE’S OVERDOSE PREVENTION SERVICES ARE ENTIRELY
       CONSISTENT WITH FEDERAL LAW AND POLICY

       43.     Efforts to expand drug treatment have been at the heart of the CSA, 21 U.S.C.

§ 801 et seq. since its passage in 1970. In its report supporting and explaining the CSA, the

House Committee on Interstate and Foreign Commerce identified “increased efforts in drug

abuse prevention and rehabilitation of users” as one of the Act’s three important objectives. See

H.R. Rep. No. 91-1444, as reprinted in 1970 U.S.C.C.A.N. 4566, 4567; see also Comprehensive

Drug Abuse Prevention and Control Act of 1970, Pub. L. No. 91-513, 84 Stat. 1236.

       44.     Under the CSA, health care practitioners licensed by the U.S. Drug Enforcement

Administration (“DEA”) may lawfully dispense or prescribe controlled substance “in the course

of professional practice.”   21 U.S.C. § 802(21); 21 C.F.R. § 1306.04. The CSA does not

generally “regulate the practice of medicine,” except “insofar as it bars doctors from using their

prescription-writing powers as a means to engage in illicit drug dealing and trafficking as

conventionally understood.” Gonzales v. Oregon, 546 U.S. 243, 270 (2006). Outside of those

13
    See Rod J. Rosenstein, Fight Drug Abuse, Don’t Subsidize It, N.Y. Times (Aug. 27, 2018),
https://www.nytimes.com/2018/08/27/opinion/opioids-heroin-injection-sites.html.


                                                9
delineated spheres, the CSA does not limit the appropriate medical response to the risk of drug

overdose.

       45.     Federal law permits, and indeed encourages, a facility like Safehouse to provide

safe and clean equipment for intravenous drug users, notwithstanding 21 U.S.C. § 863, and to

provide them with medical treatment, including immediate access to Naloxone and other opioid

reversal agents. See, infra, ¶¶ 56-77.

       46.     Safehouse’s overdose prevention services model allows those at high risk of

overdose death to stay within immediate reach of urgent, lifesaving medical care at the critical

moment of consumption. Medical supervision and direct access to treatment can reverse an

overdose with medical certainty and ensures that participants in Safehouse’s care will stay alive.

       47.     It would be entirely inconsistent with the CSA, recent Congressional changes to

federal law, and federal agency policy to find that Section 856 requires doctors, nurses, and

medically trained volunteers to turn their backs on patients at their most vulnerable moment.

Section 856 does not prohibit overdose prevention services, including the medical supervision of

drug consumption designed to provide immediate access to lifesaving care and to encourage

entry into long-term drug treatment.

       A.      The CSA Does Not Regulate Medical Treatment or Overdose Prevention
               Measures.

       48.     Although the CSA creates a comprehensive statutory and regulatory regime

regarding the manufacture, distribution, and possession of controlled substances, it does not

regulate medical treatment or the practice of medicine. See Oregon, 546 U.S. at 270 (“[T]he

statute manifests no intent to regulate the practice of medicine generally.”).

       49.     Under Subchapter I of the CSA, a medical professional licensed by the DEA is

empowered to administer controlled substances in accordance with its schedules and regulations.



                                                 10
See 21 U.S.C. § 822 (setting forth registration requirements for manufacture and distribution of

controlled substances). Moreover, DEA regulations implementing Subchapter I of the CSA

permit the dispensing, prescribing, and administering of non-Schedule I controlled substances

“for a legitimate medical purpose by an individual practitioner acting in the usual course of his

professional practice.” See 21 C.F.R. § 1306.04.

       50.     Neither the CSA nor the DEA regulates medical practitioners (or others providing

wraparound services, counseling, or volunteer support) who are not dispensing, prescribing, or

distributing controlled substances.

       51.     Section 856 does not dictate the appropriate means of preventing and treating

opioid overdoses.

       52.     Safehouse’s health care professionals and other volunteers will not distribute,

dispense, prescribe, or administer controlled substances as part of its medically supervised

consumption service. Safehouse will not administer any illicit drugs. Safehouse’s health care

professionals will supervise consumption with the singular goal of assessing and reversing

overdoses using Naloxone and other opioid reversal agents (which are not prohibited or

regulated by the CSA), with respiratory support, and by providing other lifesaving care.

       53.     In addition, Safehouse will provide comprehensive overdose prevention services

including medical care, provision of sterile consumption equipment, education, counseling, and

wraparound services such as housing, access to public benefits, and legal services. None of

those activities is addressed by the CSA.

       54.     The CSA does not prohibit medical practitioners from supervising and remaining

proximate to individuals at risk of overdose and death with the goal of providing immediate

lifesaving care.




                                               11
        55.      Section 856 accordingly does not prohibit Safehouse from providing urgent

medical treatment through its proposed overdose prevention services, including medically

supervised consumption.

        B.       Federal Law Endorses and Funds Syringe Exchange Programs.

       56.       Recent changes in federal law demonstrate official federal approval of certain

harm reduction strategies to address the opioid crisis.

       57.       In 2011, amid growing evidence of the positive effect of syringe exchange

programs in treating drug abuse, the U.S. Surgeon General issued a determination “that a

demonstration needle exchange program . . . would be effective in reducing drug abuse and the

risk of infection.”14

       58.       In pertinent part, the U.S. Surgeon General recognized that syringe exchange

programs promote entry into treatment and can reduce a drug user’s injections.                              The

determination relied upon a 2000 study, which concluded that:

                     [N]ot only were new [syringe services program] participants five
                     times more likely to enter drug treatment than non-[syringe
                     exchange program] participants, former [syringe exchange
                     program] participants were more likely to report significant
                     reduction in injection, to stop injecting altogether, and to remain in
                     drug treatment.15

       59.       In 2012, the CDC implemented summary guidance to prevent HIV infection, viral

hepatitis, sexually transmitted diseases, and tuberculosis for drug users.                     This guidance

recommended the implementation of integrated prevention services that would enable drug users



14
  Determination that a Demonstration Needle Exchange Program Would Be Effective in Reducing Drug Abuse and
the Risk of Acquired Immune Deficiency Syndrome Infection Among Intravenous Drug Users, 76 Fed. Reg. 10038
(Feb. 23, 2011).
15
  Id. (citing Holly Hagan et al., Reduced injection frequency and increased entry and retention in drug treatment
associated with needle-exchange participation in Seattle drug injectors, 19 J. of Substance Abuse Treatment 247–
252 (2000)).


                                                       12
to receive comprehensive care at the time they participate in clean syringe exchange.16 The CDC

guidance provided that “a comprehensive service program” may include “[p]rovision of sterile

needles, syringes and other drug preparation equipment (purchased with non-federal funds) and

disposal services” and “[p]rovision of Naloxone to reverse opioid overdoses.”17

       60.      Federal law now permits federal funding of most elements of local- and state-

sponsored syringe exchange programs, notwithstanding the criminalization of interstate

distribution of drug paraphernalia in 21 U.S.C. § 863. In 2016, Congress drastically relaxed a

nearly thirty-year ban on the use of federal funds for state and local programs that furnish “sterile

needles or syringes for the hypodermic injection of any illegal drug.” See Appropriations Act of

2016, § 520, 129 Stat. 2652. That same year, HHS adopted the CDC’s 2012 Guidance to support

the implementation of new federal funding for syringe exchange programs.18

       61.      Safehouse will provide comprehensive overdose protection services that are

entirely consistent with the CDC and HHS guidelines, and will provide sterile syringes, other

sterile consumption equipment, syringe disposal services, Naloxone, primary care, and

wraparound services. Although Safehouse is not a local or state entity seeking federal funding, it

is indisputable that its comprehensive syringe exchange and Naloxone services are entirely legal

under, and indeed, encouraged by federal law.

       62.      Yet, under the DOJ’s rationale, a syringe exchange program is transformed from a

legal, federally endorsed public health measure into a 20-year felony simply by allowing


16
   See CDC, Morbidity And Mortality Weekly Report: Integrated Prevention Services For Hiv Infection, Viral
Hepatitis, Sexually Transmitted Diseases, and Tuberculosis for Persons Who Use Drugs Illicitly: Summary
Guidance From CDC and the U.S. Department of Health and Human Services (2012),
https://www.cdc.gov/mmwr/preview/mmwrhtml/rr6105a1.utm (last visited Sept. 17, 2021).
17
   CDC, Program Guidance for Implementing Certain Components of Syringe Services Programs (2016),
https://www.cdc.gov/hiv/pdf/risk/cdc-hiv-syringe-exchange-services.pdf.
18
  See HHS, Implementation Guidance to Support Certain Components of Syringe Services Programs (Mar. 29,
2016), https://www.hiv.gov/federal-response/policies-issues/syringe-services-programs.


                                                   13
participants to remain within the same facility and under the supervision of its medical

practitioners at the critical moment of consumption when death is most likely to occur. That is

the very moment when proximity to urgent medical care may mean the difference between life

and death.

       63.      It cannot be that compassionate and conscientious medical providers may

establish a clinic, well-stocked with emergency overdose reversal medication, staff the clinic

with trained medical practitioners, and provide individuals with sterile consumption equipment

(all plainly permitted by federal law) only to confront a stark choice: cast those individuals away

from lifesaving medical care or else suffer serious criminal liability. That is not a reasonable

interpretation of any federal law.

       64.      The DOJ’s interpretation of Section 856 cannot be reconciled with the medical

facts recognized by Congress, the CDC, and federal health policy—syringe exchange programs

and overdose prevention services save lives, decrease disease transmission, and reduce the harms

of this opioid crisis.

       65.      Safehouse’s modest extension of already-endorsed harm reduction measures will

close a short, but critical gap in care at the time of drug consumption.

       66.      Medical supervision for those at risk of overdose advances federal policy and

does not violate federal law.

                C.       The Federal Government and Pennsylvania State Law Encourage
                         Access to Naloxone to Combat the Opioid Crisis.

       67.      Safehouse’s overdose prevention model is entirely consistent with federal and

state laws and policies that have expanded access to Naloxone and other opioid reversal agents.

       68.      Opioid receptor antagonists, like Naloxone, are highly effective—if given in time

and in sufficient quantity, they will reverse an otherwise fatal overdose with medical certainty.



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      69.      Naloxone can only work if someone is close by to administer it. A person

experiencing an overdose loses consciousness and therefore cannot self-administer Naloxone.

Once a person loses respiratory function, which can occur within minutes of consumption, time

is of the essence in providing respiratory support and Naloxone. The more time that elapses, the

greater the risk of serious injury and death.

      70.      Naloxone is designed to be easily administered as an intra-nasal spray. It has

been widely dispensed, with the help of federal, state, and local funding. At times, however, a

single dose of Naloxone is not sufficient to reverse an overdose. Multiple doses or intramuscular

injections of Naloxone are sometimes required. Oxygen and respiratory support may also be

beneficial, and can serve as an alternative first-line treatment. Outside of a medically supervised

environment, even when help does arrive for an overdose victim, first responders, family

members, and Good Samaritans sometimes lack sufficient doses of Naloxone or lack training in

other respiratory support required to resuscitate that person.

      71.      Congress recognized the importance of Naloxone access when it enacted the

Comprehensive Addiction and Recovery Act.             See CARA § 101, 130 Stat. 697.       CARA

established a coordinated, public health-focused strategy to address the opioid crisis, including

increased funding for education and awareness campaigns and improved access to overdose

treatment.

      72.      CARA also amended the CSA to expand prescribing privileges for MAT, like

buprenorphine and suboxone, to nurses and physicians assistants. See CARA § 303(a)(l)(C)(v)-

(iv), 130 Stat. 720-723.

      73.      CARA includes several measures that expand and encourage access to opioid

reversal agents such as Naloxone. Title I, Section 107 of CARA empowers HHS to award grants




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to eligible entities providing overdose reversal treatment, including Naloxone. See id. § 107, 130

Stat. 703 (42 U.S.C. § 290dd-3). Section 703 of CARA requires evaluation of state Good

Samaritan laws that provide civil and criminal immunity to individuals who administer Naloxone

to an individual experiencing an overdose. See id. § 703, 130 Stat. 741. CARA also directs that

“[t]he Secretary shall maximize the availability of opioid receptor antagonists, including

[N]aloxone, to veterans.” See id. § 911, 130 Stat. 759 (38 U.S.C. § 1701).

       74.       Pennsylvania state law similarly recognizes the importance of Naloxone access.

In light of the growing opioid crisis, in 2010, the Pennsylvania General Assembly amended its

state drug law (the Controlled Substance, Drug, Device and Cosmetic Act, 35 Pa. Stat. § 780–

101 et seq.) by enacting the Drug Overdose Response Immunity statute (“the Good Samaritan

Statute”). That statute provides immunity from prosecution for persons who call authorities to

seek medical care for a suspected overdose victim. See id. § 780–113.7. The Good Samaritan

Statute also provides criminal, civil, and professional immunity to anyone who, in good faith,

administers Naloxone to an individual experiencing an overdose.19                        Former Governor of

Pennsylvania, Tom Corbett, stated the Good Samaritan statute “will save lives and ensure those

who help someone in need aren’t punished for doing so.”20

       75.       On April 18, 2018, the Pennsylvania Physician General issued Standing Order

DOH-002-2018, providing a statewide prescription for eligible persons to obtain Naloxone. The

purpose of the Order is to “ensure that residents of the Commonwealth of Pennsylvania who are

at risk of experiencing an opioid-related overdose, or who are family members, friends or other

19
  To date, forty States and the District of Columbia have enacted some form of a Good Samaritan statute or law that
provides criminal immunity when an individual experiencing an opioid-related overdose or witnesses an opioid-
related overdose calls 911, administers Naloxone, or seeks medical assistance. See Nat’l Conf. of State Legis., Drug
Overdose Immunity and Good Samaritan Laws (June 5, 2017), http://www.ncsl.org/research/civil-and-criminal-
justice/drug-overdose-immunity-good-samaritan-laws.aspx.
20
  See David Wenner, Pa. Painkiller-Heroin Crisis: Corbett Signs Bill Intended To Save Lives, PennLive (Sept. 30,
2014), https://www.pennlive.com/midstate/2014/09/corbett_heroin_good_samaritan.html.


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persons who are in a position to assist a person at risk of experiencing an opioid-related overdose

. . . , are able to obtain Naloxone.”21 The Pennsylvania Physician General has continued to

renew this Standing Order, consistent with Pennsylvania Governor Tom Wolf’s Proclamation

and as the opioid crisis continues in Pennsylvania. The Standing Order was most recently

updated on March 29, 2021. Governor Wolf signed the 14th renewal of the Opioid Disaster

Declaration on May 7, 2021.

       76.     Safehouse’s medically supervised consumption spaces will be staffed at all times

by medically trained practitioners supplied with sufficient doses of Naloxone and able to provide

other forms of respiratory support. This model permits proximity and access to Naloxone during

and immediately after the time of use—which is the moment when Naloxone is most needed.

       77.     The Safehouse model is entirely consistent with CARA, federal policy, and

Pennsylvania state law, all of which include strong measures to increase Naloxone access.

III.   SECTION 856 DOES NOT PROHIBIT SAFEHOUSE’S PROPOSED OVERDOSE
       PREVENTION MODEL

       78.     Despite the federal endorsement of a public health-focused strategy to combat the

opioid crisis, the DOJ seeks to prohibit Safehouse’s overdose prevention services model under

21 U.S.C. § 856. The history, purpose, and text of Section 856 confirm that it has no application

to Safehouse’s proposed medical and public health response to the opioid crisis.

       A.      Section 856 Was Enacted to Target Crack Houses and Rave Parties, Not
               Legitimate Medical Interventions to Prevent Drug Overdoses.

       79.     The DOJ’s proposed application of Section 856 to Safehouse’s overdose

prevention services model would be an unprecedented expansion of that discrete statutory

provision.

21
    Pa. Dep’t of Health, Standing Order DOH-002-2016: Naloxone Prescription for Overdose Protection,
https://www.dos.pa.gov/ProfessionalLicensing/BoardsCommissions/Documents/SN%20-%20Naloxone%20
Prescription%20for%20Overdose%20Prevention%20(Standing%20Order%20DOH-002-2016).pdf.


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       80.      Congress enacted Section 856 to target drug dealers and party promoters who

established locations for manufacture, distribution, and use of illicit drugs to facilitate their for-

profit enterprises.

       81.      The federal government has never sought to use Section 856 to prosecute or

enjoin any public health measure or legitimate medical activity remotely analogous to

Safehouse’s proposed overdose prevention model.

       82.      In 1986, Congress enacted Section 856 as part of the Anti-Drug Abuse Act of

1986 (“1986 Act”), Pub. L. No. 99-570, 100 Stat. 3207.               The 1986 Act established a

comprehensive scheme that not only expanded federal drug enforcement and interdiction

measures, but also sought “to provide strong Federal leadership in establishing effective drug

abuse prevention and education programs,” and “to expand Federal support for drug abuse

treatment and rehabilitation effort[t]s.” 132 Cong. Rec. S26473 (daily ed. Sept. 26, 1986).

       83.      The passage of Section 856 was intended to authorize federal prosecution of

“crack houses” and similar premises. The Senate Report stated that Congress’s purpose in

enacting Section 856 was to “[o]utlaw[] operation of houses or buildings, so-called ‘crack

houses’, where ‘crack’ cocaine and other drugs are manufactured and used.” See 132 Cong. Rec.

at S26474. In legislative debate on the 1986 Act, sponsoring Senator Lawton Chiles noted that

this provision would address law enforcement’s difficulties in arresting “crack house” operators:

“When police raid these crack houses, the dealers and users can easily dispose of the drugs, thus

avoiding arrest. This bill makes it a felony to operate such a house, to be present at the house.”

See 132 Cong. Rec. at S26447 (statement of Sen. Chiles).

       84.      Likewise, in 2003, Congress amended Section 856 to add subsection (a)(2), “after

holding a series of hearings regarding the dangers of Ecstasy [i.e., MDMA, a synthetic drug with




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combined stimulant and hallucinogenic effects] and the rampant drug promotion associated with

some raves.” 149 Cong. Rec. S10606 (daily ed. July 31, 2003) (statement of Sen. Biden); Illicit

Drug Anti-Proliferation Act of 2003 (“2003 Amendment”), Pub. L. No. 108-21, 117 Stat. 691.

(“Rave,” in this context, refers to commercial dance parties, popular in the 1990s, featuring

electronic “club” music and often involving widespread drug use, in particular MDMA.) Then-

Senator Biden, who sponsored the 2003 Amendment, noted that the new provision clarified that

Section 856 prohibited not only the operation of premises with ongoing drug distribution

activities, but also “‘single-event’ activities, including an event where the promoter has as his

primary purpose the sale of Ecstasy or other illegal drugs.” Id. Thus, Senator Biden stated that it

was appropriate under the amendment “to prosecute rogue rave promoters who profit off of

putting kids at risk,” by “knowingly and intentionally hold[ing] an event for the purpose of drug

use, distribution or manufacturing.” See id.

      85.      Plainly, Safehouse’s lifesaving medical and public health mission is far from the

concerns that led Congress to originally enact Section 856 or the 2003 amendment. Nothing in

Section 856’s legislative history suggests Congress ever contemplated that Section 856 would be

used to prosecute medical professionals, public health workers, and volunteers who seek to

prevent opioid overdoses, reduce disease transmission, encourage drug treatment, and provide

urgent lifesaving care, as Safehouse now proposes to do.

       B.      Section 856 Does Not Apply Where Conduct Is “Authorized by this
               Subchapter,” Which Permits Legitimate Medical Practice.

       86.     Section 856 expressly exempts conduct “authorized by [Subchapter I]” from its

criminal and civil penalties. Section 856 does not regulate the practice of medicine nor does it

dictate the appropriate means of preventing and treating opioid overdoses. Neither the CSA nor




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the DEA regulate medical practitioners (or others providing wraparound services, counseling, or

volunteer support) who are not dispensing, prescribing, or distributing controlled substances.

      87.      In any event, DEA regulations implementing Subchapter I of the CSA expressly

permit the dispensing, prescribing, and administering of non-Schedule I controlled substances

“for a legitimate medical purpose by an individual practitioner acting in the usual course of his

professional practice.” See 21 C.F.R. § 1306.04.

      88.      Safehouse’s overdose prevention services are a legitimate medical and public

health measure that have been recognized and endorsed by prominent national and international

medical and public health associations including American Medical Association, the American

Public Health Association, AIDS United, the European Monitoring Center for Drugs and Drug

Addiction, the Infectious Diseases Society of America, the HIV Medical Association, the

International Drug Policy Consortium, and innumerable public health experts, physicians, and

addiction researchers.

      89.      Safehouse’s overdose prevention model has been endorsed and encouraged by

Philadelphia’s previous and current acting Public Health Commissioner and its current and

previous Commissioner of the Department of Behavioral Health and Intellectual disAbility

Services. Both Commissioners believe overdose prevention, including supervised consumption,

is a critical medical and public-health intervention.

      90.      Safehouse’s overdose prevention services are legitimate medical services that fall

under Section 856’s express exemption.




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       C.      Section 856 Does Not Apply to Safehouse Because It Will Not Operate
               “For The Purpose Of” Illegal Drug Use.

       91.     The CSA, 21 U.S.C. § 856(a) states:

                   Except as authorized by this subchapter, it shall be unlawful

                   to—

                          (1) knowingly open, lease, rent, use, or maintain any
                   place, whether permanently or temporarily, for the purpose of
                   manufacturing, distributing, or using any controlled substance;

                          (2) manage or control any place, whether permanently or
                   temporarily, either as an owner, lessee, agent, employee,
                   occupant, or mortgagee, and knowingly and intentionally rent,
                   lease, profit from, or make available for use, with or without
                   compensation, the place for the purpose of unlawfully
                   manufacturing, storing, distributing, or using a controlled
                   substance.

Id. (emphasis added).

       92.     Safehouse’s singular purpose is to provide lifesaving medical treatment, primary

care, and wraparound services to a vulnerable population at high risk of overdose death and

complications from opioid use disorder.

       93.     Safehouse will not provide these services “for the purpose” of unlawful drug use

within the meaning of Section 856—they are for the purpose of providing immediate, proximate

access to lifesaving medical care to those at high risk of overdose death.

       94.     Safehouse’s legitimate and urgent medical and public health mission and purpose

removes its proposed activities from Section 856’s scope.

       D.      The CSA Does Not Define “Unlawful . . . Use” of Controlled Substances.

       95.     Section 856(a)(2) prohibits management or control of a place for the purpose of

“unlawfully manufacturing, storing, distributing, or using a controlled substance.” 21 U.S.C.

§ 856(a)(2) (emphases added). Although the CSA elsewhere expressly defines and prohibits the



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unauthorized manufacture, storage, or distribution of controlled substances (see generally id.

§§ 802 (definitions), 841(a) (prohibition of manufacture, possession and distribution)), nowhere

does it define or proscribe “unlawful[] . . . us[e].” It is unclear from either Section 856 or the

CSA as a whole what “unlawful[] . . . us[e]” means.

       96.     Safehouse will not manufacture, store, or distribute any controlled substances.

The only possible portion of Section 856(a)(2) that could apply is the prohibition against

providing a place for “unlawful[] . . . us[e]”—an undefined term that does not plainly encompass

Safehouse’s medically supervised consumption services model, which allows drug use in its

facility only for the purpose of enabling access to a critical medical intervention.

       E.      The Rule of Lenity Forecloses the DOJ’s Expansive Interpretation of
               Section 856.

       97.     The DOJ’s unprecedented interpretation of Section 856 cannot be reconciled with

several canons of construction, including the rule of lenity and the clear statement canon.

       98.     If the Court is left with “any doubt about the meaning of” Section 856, it should

invoke the rule that “ambiguity concerning the ambit of criminal statutes should be resolved in

favor of lenity”—i.e., in favor of a criminal defendant. Yates v. United States, 574 U.S. 528,

547–48 (2015) (citation omitted); see United States v. Flemming, 617 F.3d 252 (3d Cir. 2010).

       99.     The rule of lenity favors adopting Safehouse’s interpretation of a criminal statute

where both interpretations of the government and the defendant are “plausible.” Flemming, 617

F.3d at 270. Similarly, when a “choice has to be made between two readings of what conduct

Congress has made a crime, it is appropriate, before we choose the harsher alternative, to require

that Congress should have spoken in language that is clear and definite.” United States v.

Universal C.I.T. Credit Corp., 344 U.S. 218, 221–22 (1952); Yates, 574 U.S. at 548.




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       100.    The phrases “except as authorized by,” “for the purpose of,” and “unlawful[]. . .

us[e]” in Section 856 are ill-defined and cast substantial doubt on the statute’s application to

Safehouse’s proposed overdose prevention services.

       101.    That doubt is only magnified when Section 856 is examined in the context of the

CSA as a whole. Because a court’s “duty . . . is ‘to construe statutes, not isolated provisions,’”

the Supreme Court instructs that “when deciding whether the language is plain, we must read the

words ‘in their context and with a view to their place in the overall statutory scheme.’” King v.

Burwell, 576 U.S. 473, 474 (2015) (citations omitted). The Supreme Court thus observed that

“oftentimes the ‘meaning—or ambiguity—of certain words or phrases may only become evident

when placed in context.’” Id. (citation omitted).

       102.    Here, the words of Section 856 must be read in the context of the CSA as a whole,

its purpose, and its history, which evince no intent to criminalize Safehouse’s medical and public

health intervention to prevent overdose deaths, much less do so unambiguously.

       103.    Section 856 must also be interpreted in harmony with other federal statutes,

including CARA and the Appropriations Act of 2016, which endorse and provide federal funding

to a continuum of overdose prevention and harm reduction services. See Food & Drug Admin. v.

Brown & Williamson Tobacco Corp., 529 U.S. 120, 133 (2000) (“A court must . . . interpret [a]

statute ‘as a symmetrical and coherent regulatory scheme,’ and ‘fit, if possible, all parts into an

harmonious whole.’ Similarly, the meaning of one statute may be affected by other Acts,

particularly where Congress has spoken subsequently and more specifically to the topic at hand.”

(citations omitted)).

       104.    The DOJ’s incongruous interpretation of Section 856 would criminalize the

provision of medical care in the short gap between otherwise legal and federally endorsed




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syringe exchange services and overdose reversal administration. That result would be entirely

inconsistent with the federal scheme established by the CSA, CARA, and HHS and CDC federal

guidance and policy.

       105.    The rule of lenity therefore strongly counsels in favor of Safehouse’s proposed

interpretation of Section 856.

IV.    APPLICATION OF SECTION 856 TO REGULATE LOCAL, NON-
       COMMERCIAL CONDUCT WOULD EXCEED THE AUTHORITY GRANTED
       BY THE COMMERCE CLAUSE AND UNCONSTITUTIONALLY UPSET THE
       BALANCE BETWEEN FEDERAL AND STATE AUTHORITY

       106.    The DOJ’s proposed interpretation of Section 856, as applied to Safehouse,

exceeds the bounds of Congress’s constitutional authority to regulate interstate commerce.

       107.    Congress lacks a general police power. See United States v. Morrison, 529 U.S.

598, 618–19 (2000); Jones v. United States, 529 U.S. 848, 850 (2000). Such power is granted

only to the States. See U.S. Const., amend. X. While “[t]he States have broad authority to enact

legislation for the public good” through their “police power,” the “Federal Government, by

contrast, has no such authority.” Bond v. United States, 572 U.S. 844, 854 (2014).

       108.    “[T]he regulation of health and safety matters is primarily, and historically, a

matter of local concern.” Hillsborough Cty. v. Automated Med. Labs., Inc., 471 U.S. 707, 719

(1985); Bond, 572 U.S. at 853–54.

       109.    In light of those limits on federal authority, the Supreme Court found that the

CSA “manifests no intent to regulate the practice of medicine generally,” and observed, “[t]he

silence is understandable given the structure and limitations of federalism, which allow the States

‘great latitude under their police powers to legislate as to the protection of the lives, limbs,

health, comfort, and quiet of all persons.’” Oregon, 546 U.S. at 269–70 (quoting Medtronic, Inc.

v. Lohr, 518 U.S. 470, 475 (1996)).



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       110.    Through this action, however, the DOJ interprets Section 856 in a way that would

create a general police power for Congress.

       111.    Safehouse’s proposed conduct has no substantial effect on interstate commerce. It

is not activity that is economic in nature.

       112.    Safehouse is a non-profit corporation. Its operation will charge no fees, and will

produce no revenue. Safehouse’s facility will be entirely local and will not be engaged in

commerce of any kind. Safehouse will not charge participants for its harm reduction and

overdose prevention services; will not manufacture, sell, or administer unlawful drugs; will not

permit the distribution or sale of drugs on site; will not provide any of its services across state

lines; will not permit the exchange of any currency; will not allow participants to share

consumption equipment or help another person consume drugs; and will not allow staff to handle

illegal drugs or help participants consume drugs. No link therefore exists between Safehouse’s

proposed conduct and interstate commerce.

       113.    The operation of Safehouse’s overdose prevention services will have no adverse

impact on the legitimate CSA goal of suppressing the interstate market for illegal drugs. In fact,

studies show that medically supervised consumption sites actually reduce drug use.

       114.    Section 856 lacks a jurisdictional element to ensure that the reach of the law has

an explicit connection with or effect on interstate commerce.

       115.    Congress has never found that any conduct remotely similar to Safehouse’s

proposed model affects interstate commerce. In particular, while Congress found in 21 U.S.C.

§ 801(2) that “illegal importation, manufacture, distribution, and possession and improper use of

controlled substances have a substantial and detrimental effect on the health and general welfare

of the American people,” its finding in Section 801(3) with respect to the effect on interstate




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commerce of local drug activities extends only to “manufacture, local distribution, and

possession,” not “use.” See id. § 801(3) (emphases added). Similarly, the findings in Sections

801(4), (5) and (6) concerning the interstate impact of local drug activities conspicuously omit

“use” from the listed activities.       The application of Section 856 to entirely local and

noncommercial “use” of controlled substances is therefore of doubtful constitutionality.

       116.    States and localities, under our constitutional regime, are laboratories of

experimentation that may develop new and innovative solutions to pressing issues of public

health and policy. Safehouse attempts to employ such a solution to a pressing local health crisis.

       117.    Local officials, including Philadelphia’s Mayor, previous and current acting

Public Health Commissioner, previous and current Director of the Department of Behavioral

Health, and District Attorney, support Safehouse’s efforts to mitigate the opioid crisis.

       118.    Similar overdose prevention efforts have proven to be effective in other countries

and by clinically sound data.

       119.    Serious federalism concerns are raised by the DOJ’s extension of federal law to

interfere with traditionally local activities and to exercise powers traditionally reserved to the

States, such as the regulation of volunteer medical treatment.

       120.    This Court should avoid an interpretation of Section 856 that implicates these

serious constitutional concerns. “[S]o long as the statute is found to be susceptible of more than

one construction”—one of which “raises a serious doubt as to its constitutionality”—the

constitutional avoidance canon applies. Guerrero-Sanchez v. Warden York Cty. Prison, 905 F.3d

208, 223 (3d Cir. 2018) (citation and internal quotation marks omitted). But the DOJ seeks to

disrupt the traditional balance of federal and state authority over public health initiatives, without




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any clear indication that Congress intended to thwart the traditional rights of States and

localities.

        121.   To preserve these principles of federalism, “it is incumbent upon the federal

courts to be certain of Congress’ intent before finding that federal law overrides the usual

constitutional balance of federal and state powers.” Bond, 572 U.S. at 858 (citation and internal

quotation marks omitted). No such certainty exists with respect to Section 856, however,

because the CSA “manifests no intent to regulate the practice of medicine generally.” Oregon,

546 U.S. at 270.

        122.   Because the government’s proposed interpretation of Section 856 would

significantly disrupt the traditional balance of state and federal authority in the realm of public

health, this Court should reject the government’s unprecedented interpretation of Section 856.

See Jones, 529 U.S. at 858 (explaining that, where Congress enacts criminal law that touches on

areas traditionally falling within the authority of the States, courts will assume—“unless

Congress conveys its purpose clearly”—that Congress “will not be deemed to have significantly

changed the federal-state balance in the prosecution of crimes.” (citation and internal quotation

marks omitted)).

        123.   This Court could avoid these constitutional concerns about federalism and the

scope of Congress’s power to regulate commerce by rejecting the DOJ’s interpretation of Section

856 and declaring that Section 856 does not prohibit Safehouse’s provision of urgent, lifesaving

medical treatment.

V.      SAFEHOUSE’S LIFESAVING MISSION IS AN EXERCISE OF ITS FOUNDERS’
        AND DIRECTORS’ RELIGIOUS BELIEFS

        124.   Safehouse’s board members are adherents of religions in the Judeo-Christian

tradition. For example:



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                i.          Dr. Frank A. James III is past President of Missio Seminary (formerly

       known as Biblical Theological Seminary).

              ii.           Rev. Erica Poellot is a Minister of Harm Reduction and Overdose

       Prevention Ministries of the United Church of Christ.

              iii.          Pastor Adarrel Omar Fisher is a Philadelphia Police Chaplain and the

       pastor of Geiger Memorial Church of the Brethren.

              iv.           Board President José Benitez was raised and educated as a Roman

       Catholic; his entire professional life, including as Director of Prevention Point, has been

       an exercise in living out that faith and those teachings.

       125.          The board members’ religious beliefs have been ingrained in them by their

religious schooling and their practices of worship.

       126.          At the core of all board members’ faith is the principle that the preservation of

human life is paramount and overrides any other considerations. Although Safehouse is not

itself a religious entity or organization, its founders’ and leaders’ beliefs are those of the

corporation, and the pursuit of its mission and conduct of its business will implement those

beliefs. See Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682 (2014).

       127.          This principle is rooted in scripture, and appears throughout the Old and New

Testaments. For example:

                i.          In the Gospel of John, Jesus refused to condemn to death a woman who

       had sinned, and cautioned fellow believers, “[l]et any one of you who is without sin be

       the first to cast a stone.” John 8:7-11

              ii.           The Gospel of John also counsels Christians: “The way we came to know

       love was that [Jesus] laid down his life for us; so we ought to lay down our lives for our




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brothers. If someone who has worldly means sees a brother in need and refuses him

compassion, how can the love of God remain in him? Children, let us love not in word or

speech but in deed and truth.” 1 John 3:16-18.

    iii.       Matthew 25:34-40 directs believers to take in and care for the sick: “Then

the king [i.e., Jesus Christ] will say to those on his right, ‘Come, you who are blessed by

my Father. Inherit the kingdom prepared for you from the foundation of the world. For I

was . . . ill and you cared for me. . . . Amen, I say to you, whatever you did for one of the

least brothers of mine, you did for me.’”

     iv.        In his Epistle to the Galatians, Paul the Apostle instructs Christians to

“[b]ear one another’s burdens, and so fulfill the law of Christ.” Galatians 6:2.

     v.        According to the Shulchan Aruch, the Code of Jewish Law, “the Torah has

granted the physician permission to heal, and it is a religious duty which comes under the

rule of saving an endangered life. If he withholds treatment, he is regarded as one who

sheds blood.” Shulchan Aruch, Yoreh De’ah 336:1.

     vi.       The Book of Leviticus contains the clear commandment: “You shall not

go up and down as a talebearer among your people; neither shall you stand idly by the

blood of your neighbor: I am the Lord.” Leviticus 19:16.

    vii.       In Deuteronomy, Moses conveys God’s commandment: “You shall open

wide your hand to your brother, to the needy and to the poor, in your land.”

Deuteronomy 15:11.

   viii.       The Talmud teaches: “It was for this reason that man was first created as

one person [Adam], to teach you that anyone who destroys a life is considered by




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          Scripture to have destroyed an entire world; and anyone who saves a life is as if he saved

          an entire world.” Mishnah Sanhedrin 4:5.

                 ix.          Mark 12:28:31, Jesus Christ responds as follows to the question of which

          “commandment is the most important of all?”: “The most important is, ‘Hear, O Israel:

          The Lord our God, the Lord is one. And you shall love the Lord your God with all your

          heart and with all your soul and with all your mind and with all your strength.’ The

          second is this: ‘You shall love your neighbor as yourself.’ There is no other

          commandment greater than these.”

          128.         The principle that the preservation of human life is paramount and overrides any

other considerations is not only consistent with these scriptures, but also arises from the sincerely

held religious belief that human life has inherent value because God created all living things.

          129.         The board members’ religious beliefs obligate them to take action to save lives in

the current overdose crisis, and thus to establish and run Safehouse in accordance with these

tenets.    Specifically, the board members believe that the provision of overdose prevention

services effectuates their religious obligation to preserve life, provide shelter to our neighbors,

and to do everything possible to care for the sick.

          130.         The DOJ’s threats and the initiation of a lawsuit against Safehouse burdens

Safehouse by forcing it to choose between the exercise of its founders’ and directors’ religious

beliefs and conformity with the DOJ’s interpretation of Section 856.

          131.         In particular, because of the DOJ’s threatened prosecution of Safehouse,

Safehouse and its board members have been unable to offer the lifesaving overdose prevention

services that it seeks to provide. Its board members, including Safehouse Board President José

Benitez, have been threatened with criminal prosecution if they allow those suffering from




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addiction to remain under their care and supervision and within their shelter at the time of

consumption of opioids, when those individuals are at greatest risk of overdose death. Instead,

contrary to their sincere religious beliefs, Safehouse and its board members have been compelled

to cast these vulnerable individuals outside of their facilities and have been unable to fulfill their

deeply held religious obligation to do everything possible to provide them with critical lifesaving

care.

        132.   Since 2017, this burden has been particularly heavy because Safehouse and its

Board Members have been compelled not to provide overdose prevention services while over

7,200 members of its Philadelphia community have died of fatal overdoses and tens of thousands

of others continue to suffer in the grips of opioid addiction and substance use disorder. The

people lost to fatal overdose include those that Safehouse Board Members personally have cared

for in their work treating those suffering from addiction and those that were beloved members of

Board Members’ congregations. Safehouse Board Members grieve for every life that was lost to

overdose. They believe, based on their deeply held religious convictions, that they should have

done everything possible to have kept those individuals alive, even for one more day.

IV.     THE GOVERNMENT LACKS A COMPELLING INTEREST IN DENYING
        SAFEHOUSE A RELIGIOUS EXEMPTION FROM ENFORCEMENT OF
        SECTION 856

        133.   “A law burdening religious practice that is . . . not of general application must

undergo the most rigorous of scrutiny.” Church of Lukumi Babalu Aye v. City of Hialeah, 508

U.S. 520, 546 (1993). The DOJ’s decision to seek to apply Section 856 to Safehouse does not

implement a law of general application.

        134.   As the Supreme Court recently reiterated, “[a] law is not generally applicable if it

‘invite[s]’ the government to consider the particular reasons for a person’s conduct by providing

‘a mechanism for individualized exemptions.’” Fulton v. City of Phila., 593 U.S. —,141 S.Ct.


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1868, 1877 (2021) (quoting Employment Div., Dept. of Human Resources of Ore. v. Smith, 494

U.S. 872, 884 (1990)). “A law also lacks general applicability if it prohibits religious conduct

while permitting secular conduct that undermines the government’s asserted interests in a similar

way.” Fulton, 141 S. Ct. at 1877.

       135.   Thus, where the government creates exemptions from a law for those engaged in

non-religious activity, as here, it “may not refuse to extend that system to cases of ‘religious

hardship’ without compelling reason.” Id. at 1878 (quoting Smith, 494 U.S. at 884).

       136.   “The Government’s mere invocation of the general characteristics of Schedule I

substances, as set forth in the Controlled Substances Act, cannot carry the day.” Gonzales v. O

Centro Espírita Beneficente União do Vegetal, 546 U. S. 418, 432 (2006) (observing that

“Congress’ determination that DMT should be listed under Schedule I simply does not provide a

categorical answer that relieves the Government of the obligation to shoulder its burden under

RFRA”). And, as in O Centro, which involved religious use of hoasca, “there is no indication

that Congress,” in enacting Section 856, “considered the harms posed by the particular use at

issue here” (id. at 432-33)—i.e., a religiously motivated non-profit’s establishment of a

medically supervised consumption site in which people can consume opioids in immediate

proximity to medical professionals who can provide life-saving assistance in the event of an

overdose.

       137.   The CSA contains discretionary and highly individualized exemptions from

enforcement of the CSA, including (a) for “persons engaged in research,” 21 U.S.C. § 872(e);

(b) in the Attorney General’s discretion to “waive the requirement for registration of certain

manufacturers, distributors, or dispensers if he finds it consistent with the public health and

safety.” 21 U.S.C. § 822(d); (c) for religious use of peyote by Native Americans, 21 C.F.R.




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§ 1307.31; and (d) for possession offenses, for the Attorney General to decide in his discretion to

“compromise, modify, or remit, with or without conditions, any civil penalty” imposed for

simple possession, 21 U.S.C. § 844a.

       138.    The CSA itself provides that “[t]he Attorney General, on his own motion or at the

request of the Secretary, may authorize the possession, distribution, and dispensing of controlled

substances by persons engaged in research. Persons who obtain this authorization shall be

exempt from State or Federal prosecution for possession, distribution, and dispensing of

controlled substances to the extent authorized by the Attorney General.” 21 U.S.C. § 872(e)

(emphasis added). That exemption would be vitiated if Section 856 penalized such persons for

maintaining a place to engage in authorized activities. Indeed, use of lawfully dispensed

substances could not constitute “unlawful” use under Section 856.

       139.    The implementing regulations build on this “[e]xemption from prosecution for

researchers.” 21 C.F.R. § 1316.24 (catchline). In particular, they provide that, “[u]pon

registration of an individual to engage in research in controlled substances under the Controlled

Substances Act (84 Stat. 1242; 21 U.S.C. 801), the Administrator of the Drug Enforcement

Administration, on his own motion or upon request in writing from the Secretary or from the

researcher or researching practitioner, may exempt the registrant when acting within the scope of

his registration, from prosecution under Federal, State, or local laws for offenses relating to

possession, distribution or dispensing of those controlled substances within the scope of his

exemption.” 21 C.F.R. § 1316.24 (emphasis added).

       140.    Moreover, the CSA permits the Attorney General to “waive the requirement for

registration of certain manufacturers, distributors, or dispensers if he finds it consistent with the

public health and safety.” 21 U. S. C. §822(d); see also 21 C.F.R. § 1307.03 (permitting the




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DEA to “grant an exception” from “to the application of any provision of this chapter” to a

qualified application). As the Supreme Court observed in O Centro, “The fact that the Act itself

contemplates that exempting certain people from its requirements would be ‘consistent with the

public health and safety’ indicates that congressional findings with respect to Schedule I

substances should not carry the determinative weight, for RFRA purposes, that the Government

would ascribe to them.” Id.

       141.   In fact, the CSA itself contains a provision exempting certain drug use for

religious purposes from prosecution. Since 1970, “there has been a regulatory exemption for use

of peyote—a Schedule I substance—by the Native American Church.”              Id.   The CSA’s

implementing regulations provide that “[t]he listing of peyote as a controlled substance in

Schedule I does not apply to the nondrug use of peyote in bona fide religious ceremonies of the

Native American Church, and members of the Native American Church so using peyote are

exempt from registration. Any person who manufactures peyote for or distributes peyote to the

Native American Church, however, is required to obtain registration annually and to comply

with all other requirements of law.” 21 C.F.R. § 1307.31.

       142.   The government also has discretion under the CSA to prosecute (or refrain from

prosecution of) both the conduct of Safehouse and the types of drug-related offenses that would

occur on Safehouse’s property—that is, simple possession of controlled substances for personal,

use under the supervision of medical professionals. (Possession is the only potentially relevant

offense because drug “use” is not regulated by the CSA or any federal law whatsoever.) The

range of punishment available for simple possession offenses under the CSA ranges from a

maximum of one year of imprisonment to no penalty at all.




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         143.   The government has, in the past, exercised authority to decline to prosecute

activities that technically violate the CSA, but do not “undermine federal enforcement priorities.”

E.g., W. Ogden, Deputy Att’y Gen., Memorandum for Selected United States Attorneys:

Investigations and Prosecutions in States Authorizing the Medical Use of Marijuana (Oct. 19,

2009).22

         144.   Section 844 provides that simple possession (absent any prior convictions) is

punishable by a “term of imprisonment of not more than 1 year.” 21 U.S.C. § 844. The CSA

provides for alternative civil penalties for such offenses, moreover, permitting the government to

impose a civil penalty of up to $10,000 instead of prosecuting criminally. 21 U.S.C. § 844a.

The CSA then permits the Attorney General to “compromise, modify, or remit, with or without

conditions, any civil penalty” imposed for simple possession.

         145.   In fact, the government in general does not prosecute under Section 856 for

maintaining, controlling, or making available a place where controlled substances are simply

possessed or used but not stored, distributed, or manufactured, despite the statute’s reference to

“using”; instead, it exempts these offenses from prosecution as a matter of course and on an

individualized basis. Indeed, in the 33 years since Section 856 was first enacted, the government

has cited no examples of a criminal prosecution under Section 856 involving only simple

possession or use—much less prosecutions involving public health interventions similar to

Safehouse.




    22
         James M. Cole, Deputy Att’y Gen., Memorandum for United States Attorneys: Guidance Regarding
the Ogden Memo in Jurisdictions Seeking to Authorize Marijuana for Medical Use (June 29, 2011); James M.
Cole, Deputy Att’y Gen., Memorandum for United States Attorneys: Guidance Regarding Marijuana
Enforcement (Aug. 29, 2013); James M. Cole, Deputy Att’y Gen., Memorandum for United States Attorneys:
Guidance Regarding Marijuana Related Financial Crimes (Feb. 14, 2014); Monty Wilkinson, Director of the
Executive Office for United States Att’ys, Policy Statement Regarding Marijuana Issues in Indian Country (Oct.
28, 2014).


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          146.   “The question, then, is not whether the [government] has a compelling interest in

enforcing its . . . policies generally, but whether it has such an interest in denying an exception”

to Safehouse. Fulton v. City of Phila., 141 S. Ct. at 1881.

          147.   The DOJ’s interest in enforcement of Section 856 against Safehouse furthers no

legitimate interest—much less a compelling interest—and the DOJ will be unable to meet its

burden to prove that it does. To the contrary, enforcement of Section 856 against Safehouse will

and has resulted in preventable deaths.

          148.   The DOJ cannot establish a compelling interest in denying an exemption by

relying on “broadly formulated interests” that are defined “at a high level of generality” Id.

(citing O Centro, 546 U. S. at 430–432). “[T]he First Amendment demands a more precise

analysis”—i.e., one that “scrutinizes the asserted harm of granting specific exemptions to

particular religious claimants.” Id. (quoting O Centro, 546 U.S. at 431). Put differently, “RFRA

requires the Government to demonstrate that the compelling interest test is satisfied through

application of the challenged law ‘to the person’—the particular claimant whose sincere exercise

of religion is being substantially burdened.” O Centro, 546 U.S. at 431-32.

          149.   As the Court in O Centro further stated, RFRA “plainly contemplates that courts

would recognize exceptions” to the CSA on religious grounds—“that is how the law works.” Id.

(rejecting the government’s “bold argument that there can be no RFRA exceptions at all to the

Controlled Substances Act”).

          150.   The DOJ will also not be able to meet its burden of proving that preventing

Safehouse from opening is the least restrictive means of fostering any compelling interest it may

invoke.




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          151.    Declaring Safehouse to be illegal will not reduce the manufacture, distribution, or

possession of illegal drugs. Rather, when Safehouse does open, the demand for illegal drugs will

decrease because some of its participants will seek and be provided with drug treatment.

                                            CAUSES OF ACTION

                                                    COUNT I

        Declaratory Judgment Regarding the Application of Section 856 to Safehouse23

          152.    Safehouse repeats and re-alleges Paragraphs 1 through 150 as if fully set forth

herein.

          153.    The CSA provides, in pertinent part:

                      Except as authorized by this subchapter, it shall be unlawful to—

                            (1) knowingly open, lease, rent, use, or maintain any place,
                      whether permanently or temporarily, for the purpose of
                      manufacturing, distributing, or using any controlled substance;

                              (2) manage or control any place, whether permanently or
                      temporarily, either as an owner, lessee, agent, employee, occupant,
                      or mortgagee, and knowingly and intentionally rent, lease, profit
                      from, or make available for use, with or without compensation, the
                      place for the purpose of unlawfully manufacturing, storing,
                      distributing, or using a controlled substance.

21 U.S.C. § 856(a) (emphases added).

          154.    Safehouse will not make its premises available “for the purpose of unlawfully . . .

using a controlled substance.”

          155.    Safehouse will operate only for the purpose of providing lifesaving medical

treatment and critical wraparound services to a vulnerable population at risk of overdose death

and complications from substance use disorder.



23
  Safehouse is not seeking to relitigate this Counterclaim before this Court. Rather, Safehouse has retained it in this
amended pleading for the sake of completeness and for purposes of preserving the issue in this ongoing litigation.


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          156.   Safehouse will furnish legitimate and urgent medical services, which are not

prohibited under 21 U.S.C. § 856.

          157.   Accordingly, pursuant to 28 U.S.C. § 2201, Safehouse is entitled to a declaration

that it will not violate 21 U.S.C. § 856(a) by operating in accordance with its overdose

prevention services model.

          158.   Safehouse is also entitled to a permanent injunction preventing the U.S. Attorney

General from enforcing 21 U.S.C. § 856 against Safehouse.

                                              COUNT II
          Violation of the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb et seq.

          159.   Safehouse repeats and re-alleges Paragraphs 1 through 157 as if fully set forth

herein.

          160.   Allowing individuals at risk of an overdose to remain under medical supervision

and in close proximity to urgent medical care is an exercise of the religious belief of Safehouse

and its board members that the preservation of human life is paramount and overrides other

considerations. In the exercise of their religion, Safehouse and its principals intend to open and

operate Safehouse as described above in this Counterclaim, as they are called to do.

          161.   The DOJ’s interpretation of 21 U.S.C. § 856, and in particular, its present effort to

enforce that interpretation, substantially burdens Safehouse’s exercise of its religious

commitments.

          162.   The DOJ’s threat to prosecute Safehouse substantially burdens Safehouse’s

exercise of religion.

          163.   The DOJ’s ongoing litigation against Safehouse substantially burdens Safehouse’s

exercise of religion.




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          164.   Counterclaim Defendants will not be able to carry its burden of proof to show that

their attempts to prevent Safehouse’s religious exercise are in furtherance of a compelling

governmental interest.

          165.   Counterclaim Defendants will not be able to carry their burden of proof to show

that these attempts are the least restrictive means of furthering any compelling governmental

interest.

          166.   The DOJ’s actions violate Safehouse’s right to free religious exercise guaranteed

by RFRA, 42 U.S.C. § 2000bb et seq.

          167.   Without injunctive and declaratory relief against the government, Safehouse has

been and will continue to be harmed.

                                             COUNT III
                   Violation of the First Amendment to the U.S. Constitution

          168.   Safehouse repeats and re-alleges Paragraphs 1 through 166 as if fully set forth

herein.

          169.   Allowing individuals at risk of an overdose to remain under medical supervision

and in close proximity to urgent medical care is an exercise of the religious belief of Safehouse

and its board members that the preservation of human life is paramount, that they should do

everything possible to save and preserve life, and that they should provide shelter and care to the

most vulnerable among us, including those suffering from addiction. In the exercise of their

religion, Safehouse and its principals intend to open and operate Safehouse as described above in

this Counterclaim, as they are called to do.

          170.   The DOJ’s interpretation of 21 U.S.C. § 856, and, in particular, its present effort

to enforce that interpretation, substantially burdens Safehouse’s exercise of its religious




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commitments.       And the DOJ’s ongoing litigation against Safehouse substantially burdens

Safehouse and Safehouse Board Member’s exercise of religion.

        171.    “A law burdening religious practice that is . . . not of general application must

undergo the most rigorous of scrutiny.” Church of Lukumi Babalu Aye v. City of Hialeah, 508

U.S. 520, 546 (1993).24 The DOJ’s decision to seek to apply Section 856 to Safehouse does not

implement a law of general application.

        172.    Section 856 runs afoul of this general applicability requirement because the

government grants exemptions from prosecution for certain individuals engaged in non-religious

conduct that otherwise violates the CSA.

        173.    DOJ has never enforced the CSA in the manner DOJ currently threatens against

Safehouse.     The CSA confirms that the DOJ is given express statutory authority to allow

exceptions for similar, secular activity in some instances, and DOJ has exercised that authority

including by regulations providing an exemption for particular religious use of a Schedule I

substance and by authorizing DEA to grant exemptions from the statute’s prohibitions.

        174.    Where the government creates exemptions from a law for those engaged in non-

religious activity, as here, it “it may not refuse to extend that system to cases of ‘religious

hardship’ without compelling reason.” Fulton, 141 S. Ct. at 1877 (quoting Smith, 494 U.S. at

884).

        175.    The DOJ will not be able to carry its burden of proof to show that their attempts

to prevent Safehouse’s religious exercise are in furtherance of a compelling governmental

interest.



24
    This standard is derived from the Supreme Court’s decision in Employment Division, Department of Human
Resources of Oregon v. Smith, 494 U.S. 872, 884 (1990)). While this Court is bound by that decision, Safehouse
reserves the right to assert in the appropriate forum that Smith was wrongly decided and should be overturned.


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            176.   The DOJ will not be able to carry their burden of proof to show that these

attempts are the least restrictive means of furthering any compelling governmental interest. They

do not have a compelling reason for their actions, and they have not selected the means least

restrictive of religious exercise in order to further their interests.

            177.   The DOJ’s actions violate Safehouse’s right to free religious exercise guaranteed

by the First Amendment to the U.S. Constitution.

             AMENDMENT TO AFFIRMATIVE DEFENSES IN SAFEHOUSE’S ANSWER

            In amending its counterclaims, Safehouse also stands on its Answer to the DOJ’s

Amended Complaint. Safehouse asserts an additional Affirmative Defense that prosecution of

Safehouse would violate Safehouse’s rights under the First Amendment to the U.S. Constitution.

Safehouse requests that its Answer be deemed constructively amended to incorporate this

affirmative defense.

                                           PRAYER FOR RELIEF

            Safehouse respectfully requests that this Court enter judgment in its favor and grant the

following relief:

       i.          A declaration that Safehouse’s establishment and proposed operation of its

overdose prevention services model will not violate 21 U.S.C. § 856;

     ii.           A declaration that a prohibition or penalizing of Safehouse’s establishment and

proposed operation of its overdose prevention services model will violate 42 U.S.C. § 2000bb;

     iii.          A declaration that a prohibition or penalizing of Safehouse’s establishment and

proposed operation of its overdose prevention services model will violate the Free Exercise

Clause of First Amendment to the U.S. Constitution;




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    iv.       A declaration that 21 U.S.C. § 856, as applied to Safehouse, violates the

Commerce Clause of Article I of the U.S. Constitution;

     v.       An injunction permanently enjoining the Third-Party Counterclaim Defendants

from enforcing or threatening to enforce 21 U.S.C. § 856 against Safehouse;

    vi.       An order awarding such additional relief as the Court may deem appropriate and

just under the circumstances.

Dated: June 27, 2023                     Respectfully submitted,


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